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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: ________________________

  LUXOTTICA GROUP S.p.A., an
  Italian corporation,

                 Plaintiff,

         vs.

  L&L WINGS, INC., a foreign corporation,
  and SHAUL LEVY, individually,

              Defendants.
  _____________________________________/

                                                COMPLAINT

         Plaintiff Luxottica Group S.p.A. (“Luxottica Group”), by and through undersigned

  counsel, hereby sues Defendants L&L Wings, Inc. and Shaul Levy (collectively, “Defendants”),

  and alleges:

                                             INTRODUCTION

         1.      This case concerns the violation of the intellectual property rights of Luxottica

  Group by Defendants’ sale of sunglasses and related accessories in Florida and California

  bearing counterfeits of Luxottica Group’s Ray-Ban trademarks (the “Counterfeit Merchandise”).

  Through this action, Luxottica Group seeks to address Defendants’ counterfeiting activities, as

  well as to protect unknowing consumers from purchasing low quality and potentially dangerous

  Counterfeit Merchandise. Luxottica Group has been and continues to be irreparably harmed

  through consumer confusion, dilution, and tarnishment of its valuable trademarks as a result of

  Defendants’ unlawful actions.




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                                     JURISDICTION AND VENUE

          2.      This Court has jurisdiction over the parties and over the subject matter of this

  action pursuant to 28 U.S.C. §§ 1331 and 1338 because it involves trademark claims arising

  under 15 U.S.C. §§ 1114 and 1125 (the “Lanham Act”).

          3.      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants reside, have a

  principal place of business, and continue to infringe Luxottica Group’s famous trademarks in this

  Judicial District.

                                                   PARTIES

          4.      Plaintiff Luxottica Group S.p.A. is an Italian corporation with its principal place

  of business in Milan, Italy.

          5.      Defendant L&L Wings, Inc. is a South Carolina corporation authorized to do

  business and doing business in the State of Florida with a principal place of business located at

  2800 NW 125th Street, Miami, Florida 33167.                Defendant L&L Wings, Inc. is the registered

  owner of the fictitious name “Wings”, and uses that fictitious name in the operation of its

  “Wings” beachwear retail stores in Florida, California and other locations throughout the United

  States. As alleged herein, L&L Wings, Inc. is directly engaging in the promotion and sale of

  counterfeit and infringing products within this Judicial District and elsewhere.

          6.      Upon information and belief, Defendant Shaul Levy (“Levy”) is a resident of

  Miami-Dade County, Florida. Levy is a principal, officer, manager and director, and the moving

  force behind L&L Wings Inc.’s operations.




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                                       FACTUAL ALLEGATIONS

  A.     The World-Famous Luxottica Brands and Products

         7.      Luxottica Group is engaged in the manufacture, marketing and sale of premium,

  luxury and sports eyewear throughout the world. Luxottica Group’s proprietary brands include

  Ray-Ban, the world’s most famous sun eyewear brand, as well as Oakley, Vogue Eyewear,

  Persol, Oliver Peoples, Alain Mikli and Arnette.

         8.      Through its affiliates and subsidiaries, Luxottica Group operates over 7,000

  optical and sun retail stores, including LensCrafters, Pearle Vision and ILORI in North America,

  OPSM and Laubman & Pank in Asia-Pacific, LensCrafters in China, GMO in Latin America and

  Sunglass Hut worldwide.

         9.      Luxottica Group’s Ray-Ban products are distributed and sold through its optical

  and sun specialty retail stores, authorized retail and department stores, and via its various

  websites, including www.ray-ban.com, throughout the United States, including Florida.

         10.     Luxottica Group has used a variety of legally-protected trademarks for many

  years on and in connection with the advertisement and sale of its Ray-Ban products, including

  but not limited to, those detailed in this Complaint.

         11.     Luxottica Group has expended substantial time, money, and other resources in

  developing, advertising, and otherwise promoting the Ray-Ban Trademarks.                       As a result,

  products bearing the Ray-Ban Trademarks are widely recognized and exclusively associated by

  consumers, the public, and the trade as being high quality products sourced from Luxottica

  Group, and have acquired strong secondary meaning.

         12.     Luxottica Group is the owner of the following United States Federal Trademark

  Registrations (collectively, the “Ray-Ban Trademarks”):

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  Registration Number                Trademark                                    Good and Services


                                                                 For: sunglasses, shooting Glasses, and ophthalmic
        650,499
                                                                 lenses, in class 9.


                                                                 For: ophthalmic products and accessories –
                                                                 namely, sunglasses; eyeglasses; spectacles;
       1,080,886                                                 lenses and frames for sunglasses, eyeglasses,
                                                                 spectacles, in class 9.

                                                                 For: ophthalmic products and accessories –
                                                                 namely, sunglasses; eyeglasses; spectacles;
                                                                 lenses and frames for sunglasses, eyeglasses,
       1,093.658                                                 spectacles and goggles; and cases and other
                                                                 protective covers for sunglasses, eyeglasses,
                                                                 spectacles, in class 9.




                                                                 For: sunglasses and carrying cases therefor,
       1,320,460
                                                                 in class 9.



                                                                 For: bags; namely, tote, duffle and all
                                                                 purpose sports bags, in class 18. For: cloths for
       1,726,955                                                 cleaning ophthalmic products, in class 21. For:
                                                                 clothing and headgear; namely, hats, in class 25.

                                                                 For: goods made of leather and imitation
                                                                 Leather, namely, wallets, card cases for
                                                                 business cards, calling cards, name cards and
       2,718,485                                                 credit cards, in class 18. For: clothing for men
                                                                 and women, namely, polo shirts; headgear,
                                                                 namely, berets and caps, in class 25.

                                                                 For: sunglasses, eyeglasses, lenses for
                                                                 eyeglasses, eyeglasses frames, cases for
       3,522,603
                                                                 eyeglasses, in class 9.


        590,522                         G-15                     For: Sunglasses and ophthalmic lenses, in class 9.


                                                                 For: Eyeglasses, sunglasses, temples and eyeglass
       1,511,615
                                                                 frames, in class 9.




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         13.     Luxottica Group has long been manufacturing and selling in interstate commerce

  eyewear under the Ray-Ban Trademarks. 1 These registrations are valid and subsisting and the

  majority are incontestable.

         14.     The registration of the marks constitutes prima facie evidence of their validity and

  conclusive evidence of Luxottica Group’s exclusive right to use the Ray-Ban Trademarks in

  connection with the goods identified therein and other commercial goods.

         15.     The registration of the marks also provides constructive notice to Defendants of

  Luxottica Group’s ownership and exclusive rights in the Ray-Ban Trademarks.

         16.     The Ray-Ban Trademarks qualify as famous marks, as that term is used in 15

  U.S.C. § 1125(c)(1).

         17.     The Ray-Ban Trademarks at issue in this case have been continuously used in

  interstate commerce and have never been abandoned.

  B.     Defendants’ Infringing Conduct

                 1.        Counterfeit Sales in California

         18.     On April 26, 2019, Luxottica Group’s investigator visited Defendants’ “Wings

  104” store located at 401 Mission Ave., Oceanside, California 92103.                        During that visit, the

  investigator discovered that Defendants were advertising, publicly displaying, and offering for

  sale sunglasses bearing logos and source-identifying indicia and design elements that are

  imitations of one or more of the Ray-Ban Trademarks.




  1
   All registrations originally held in the name of Luxottica Group’s predecessor's owner of the Ray-Ban
  Trademarks, Bausch and Lomb, were assigned in full to Luxottica Group in 1999.
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         19.     Luxottica Group’s investigator purchased one pair of “New Wayfarer Classic”

  sunglasses for the discounted price of $125.60 plus tax, and one pair of “Clubmaster” sunglasses

  for the discounted price of $134.64 plus tax, each bearing counterfeits of one or more of the Ray-

  Ban Trademarks. Photographs of the counterfeit sunglasses and accessories that were purchased

  are depicted below:




         20.     On April 26, 2019, Luxottica Group’s investigator visited Defendants’ “Wings

  103” store located at 4948 Newport Ave., San Diego, California 92103.                       During that visit, the

  investigator discovered that Defendants were advertising, publicly displaying, and offering for

  sale sunglasses bearing logos and source-identifying indicia and design elements that are

  imitations of one or more of the Ray-Ban Trademarks.

         21.     Luxottica Group’s investigator purchased one pair of “Clubmaster” sunglasses for

  the discounted price of $134.64 plus tax, bearing counterfeits of one or more of the Ray-Ban

  Trademarks. A photograph of the counterfeit sunglasses and accessories that were purchased is

  depicted below:




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         22.    On April 26, 2019, Luxottica Group’s investigator visited Defendants’ “Wings

  101” store located at 3136 Mission Blvd., San Diego, California, 92109.                   During that visit, the

  investigator discovered that Defendants were advertising, publicly displaying, and offering for

  sale sunglasses bearing logos and source-identifying indicia and design elements that are

  imitations of one or more of the Ray-Ban Trademarks.

         23.    Luxottica Group’s investigator purchased one pair of “Clubmaster” sunglasses for

  the discounted price of $134.64 plus tax, bearing counterfeits of one or more of the Ray-Ban

  Trademarks. A photograph of the counterfeit sunglasses and accessories that were purchased is

  depicted below:




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                 2.     Counterfeit Sales in Florida

           24.   On May 3, 2019, Luxottica Group’s investigator visited Defendants’ “Wings 303”

  store located at 2020 NE 2nd Street, Deerfield Beach, Florida 33441. During that visit, the

  investigator discovered that Defendants were advertising, publicly displaying, and offering for

  sale sunglasses bearing logos and source-identifying indicia and design elements that are

  imitations of one or more of the Ray-Ban Trademarks.

           25.   Luxottica Group’s investigator purchased one pair of “Aviator” sunglasses for the

  discounted price of $147.20 plus tax, and one pair of “Aviator” sunglasses for the discounted

  price of $155.84 plus tax, each bearing counterfeits of one or more of the Ray-Ban Trademarks.

  Photographs of the counterfeit sunglasses and accessories that were purchased are depicted

  below:




           26.   On May 6, 2019, Luxottica Group’s investigator visited Defendants’ “Wings 335”

  store located 4392 NE Ocean Blvd., Jensen Beach, Florida 34957.                         During that visit, the

  investigator discovered that Defendants were advertising, publicly displaying, and offering for

  sale sunglasses bearing logos and source-identifying indicia and design elements that are

  imitations of one or more of the Ray-Ban Trademarks.

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         27.    Luxottica Group’s investigator purchased one pair of “Aviator” sunglasses for the

  discounted price of $156.00 plus tax, bearing counterfeits of one or more of the Ray-Ban

  Trademarks. A photograph of the counterfeit sunglasses and accessories that were purchased is

  depicted below:




         28.    On May 7, 2019, Luxottica Group’s investigator visited Defendants’ “Wings 328”

  store located at 201 Lincoln Road, Miami Beach, Florida 33139.                          During that visit, the

  investigator discovered that Defendants were advertising, publicly displaying, and offering for

  sale sunglasses bearing logos and source-identifying indicia and design elements that are

  imitations of one or more of the Ray-Ban Trademarks.

         29.    Luxottica Group’s investigator purchased one pair of “Wayfarer” sunglasses for

  the discounted price of $177.60 plus tax, bearing counterfeits of one or more of the Ray-Ban

  Trademarks. A photograph of the counterfeit sunglasses and accessories that were purchased is

  depicted below:




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         30.     Luxottica Group subsequently inspected each of the purchased items and

  determined that the sunglasses and related accessories bearing reproductions of the Ray-Ban

  Trademarks were in fact counterfeit products that infringed one or more of Luxottica Group’s

  Ray-Ban Trademarks.

         31.     Defendants have no license, authority, or other permission from Luxottica Group

  to use any of the Ray-Ban Trademarks in connection with the advertising, promoting,

  distributing, displaying, selling, and/or offering for sale of the Counterfeit Merchandise.

         32.     The forgoing acts of the Defendants constitutes direct and willful trademark

  infringement in violation of federal law.

         33.     The foregoing acts of the Defendants are intended to cause, have caused, and are

  likely to continue to cause confusion or mistake, or to deceive consumers, the public, and the

  trade into believing that Counterfeit Merchandise offered for sale and sold by Defendants are

  authentic or authorized products of Luxottica Group.

         34.     The activities of the Defendants, as described above, are likely to create a false

   impression and deceive consumers, the public, and the trade into believing that there is a

   connection or association between the Counterfeit Merchandise and Luxottica Group.




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         35.     Defendants are well-aware of the extraordinary fame and strength of the Ray-Ban

   brand, the Ray-Ban Trademarks, and the incalculable goodwill associated therewith.

         36.     Defendant Levy has materially contributed to and facilitated the above-described

   infringement of the Luxottica Group’s Ray-Ban Trademarks by having permitted the offering

   for sale and the sale of Counterfeit Merchandise by L&L Wings, Inc. through (i) Defendant

   Levy's knowledge of the offering for sale and the sale of the Counterfeit Merchandise, (ii)

   Defendant Levy’s constructive knowledge of the offering for sale and the sale of the Counterfeit

   Merchandise or, alternatively, (iii) Defendant Levy's willful blindness to the offering for sale

   and the sale of the Counterfeit Merchandise.

         37.     Defendants’ knowing and deliberate hijacking of Luxottica Group’s famous

  marks, and sale of Counterfeit Merchandise have caused, and continues to cause, substantial and

  irreparable harm to Luxottica Group’s goodwill and reputation. In addition, the damages caused

  by Defendants are especially severe because the Counterfeit Merchandise was cheap and inferior

  in quality to products bearing authentic Ray-Ban Trademarks.

         38.     The harm being caused to Luxottica Group is irreparable and Luxottica Group

  does not have an adequate remedy at law. Luxottica Group therefore seeks the entry of an

  injunction preventing the sale of Counterfeit Merchandise by Defendants.

         39.     Luxottica Group also seeks damages as a result of Defendants’ knowing,

  deliberate and willful disregard of the activities infringing Luxottica Group’s Trademarks.




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                                                COUNT I
                                         Trademark Counterfeiting
                                              (15 U.S.C. § 1114)

         40.    Luxottica Group repeats and realleges the allegations set forth in Paragraphs 1

  through 39 above.

         41.    This is a trademark infringement action against Defendants based on their

  unauthorized use in commerce of counterfeit imitations of Luxottica Group’s Ray-Ban

  Trademarks.

         42.    Defendants have promoted, advertised, offered for sale and sold products bearing

  counterfeits of one or more of Luxottica Group’s Ray-Ban Trademarks without Luxottica

  Group’s permission.

         43.    The foregoing acts of Defendants are intended to cause, have caused, and are

   likely to continue to cause confusion or mistake, or to deceive consumers, the public, and the

   trade into believing that Counterfeit Merchandise offered for sale and sold by Defendants are

   authentic or authorized products of Luxottica Group.

         44.    Defendants’ activities, as described above, are likely to create a false impression

  and deceive consumers, the public, and the trade into believing that there is a connection or

  association between the Counterfeit Merchandise and Luxottica Group.

         45.    Defendants have directly and willfully infringed Luxottica Group’s Ray-Ban

  Trademarks under Section 32 of the Lanham Act, 15 U.S.C. § 1114.




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                                           COUNT II
                        False Designation of Origin (15 U.S.C. § 1125(A))

           46.   Luxottica Group repeats and realleges the allegations set forth in Paragraphs 1

  through 39 above.

           47.   Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

  Merchandise has created and is creating a likelihood of confusion, mistake, and deception among

  the general public as to the affiliation, connection, or association with Luxottica Group or the

  origin, sponsorship, or approval of Defendants’ Counterfeit Merchandise by Luxottica Group.

           48.   By using Luxottica Group’s Ray-Ban Trademarks on the Counterfeit

  Merchandise, Defendants created a false designation of origin and a misleading representation of

  fact as to the origin and sponsorship of the Counterfeit Merchandise.

           49.   Defendants’ false designation of origin and misrepresentation of fact as to the

  origin and/or sponsorship of the Counterfeit Merchandise to the general public involves the use

  of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C.

  §1125.

           50.   Luxottica Group has no adequate remedy at law and, if Defendants’ actions are

  not enjoined, Luxottica Group will continue to suffer irreparable harm to its reputation and the

  goodwill of the Ray-Ban brand.




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                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Luxottica Group S.p.A. respectfully requests that this Court

  enter judgment in its favor and against Defendants L&L Wings, Inc. and Shaul Levy, jointly and

  severally, as follows:

         A.      Finding that: Defendants have violated Section 32 of the Lanham Act (15 U.S.C.

  §§ 1114 and 1125);

         B.      Granting an injunction, pursuant to Rule 65 of the Federal Rules of Civil

  Procedure, 15 U.S.C. § 1116, and 17 U.S.C. § 502, preliminarily and permanently restraining

  and enjoining Defendants, their agents, employees, vendors and attorneys, and all those persons

  or entities in active concert or participation with them from:

                 1.        importing, advertising, marketing, promoting, supplying, distributing,

  offering for sale, or selling any products which bear the Luxottica Group’s Ray-Ban Trademarks,

  or any other mark or design element substantially similar or confusing thereto, including, without

  limitation, the Counterfeit Merchandise, and engaging in any other activity constituting an

  infringement of any of Luxottica Group’s rights in the Ray-Ban Trademarks;

                 2.        engaging in any other activity constituting unfair competition with

  Luxottica Group, or acts and practices that deceive consumers, the public, and/or trade, including

  without limitation, the use of designations and design elements associated with Luxottica Group;

         C.      Requiring Defendants to file with this Court and serve on Luxottica Group within

  thirty (30) days after entry of the injunction a report in writing under oath setting forth in detail

  the manner and form in which Defendants have complied with the injunction;

         D.      Directing such other relief as the Court may deem appropriate to prevent

  consumers, the public, and/or the trade from deriving any erroneous impression that any product

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  at issue in this action that has been imported, advertised, marketed, promoted, supplied,

  distributed, offered for sale, or sold by Defendants, has been authorized by Luxottica Group, or

  is related in any way with Luxottica Group and/or its products;

               E.        Awarding Luxottica Group statutory damages for willful trademark counterfeiting

  in accordance with Section 35 of the Lanham Act (15 U.S.C. § 1117);

               F.        Awarding Luxottica Group its costs, investigatory fees, and expenses;

               G.        Awarding Luxottica Group pre-judgment interest on any monetary award made

  part of the judgment against Defendants; and

               H.        Awarding Luxottica Group such additional and further relief as the Court deems

  just and proper.

                                            DEMAND FOR JURY TRIAL

               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Luxottica Group requests

  a trial by jury in this matter.

               Dated this 24th day of May 2019.
                                                            Respectfully submitted,


                                                            By: /s/ David B. Rosemberg
                                                            David B. Rosemberg, P.A. (0582239)
                                                            david@rosemberglaw.com
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                                                            Telephone: 305.602.2008
                                                            Facsimile: 305.602.0225

                                                            Counsel for Luxottica Group S.p.A.


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